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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                              ROME DIVISION

AARON GERENDAY,                                 )
                                                )    Civil Action
     Plaintiff,                                 )    No.
                                                )
v.                                              )    JURY TRIAL DEMANDED
                                                )
WAL-MART ASSOCIATES, INC.,                      )
                                                )
  Defendant.                                    )
_________________________________               )

                         COMPLAINT FOR DAMAGES

        COMES NOW, Plaintiff, Aaron Gerenday, by and through undersigned

counsel, and files this Complaint for Damages against Defendant Wal-Mart

Associates, Inc. (“Defendant”), and states as follows:

                          JURISDICTION AND VENUE

                                           1.

        Plaintiff invokes the jurisdiction of this court pursuant to 28 U.S.C. § 1331

and 42 U.S.C. § 2000e-5(f).

                                           2.

        The unlawful employment practices alleged in this Complaint were

committed within this district. In accordance with 28 U.S.C. § 1391 and 42 U.S.C.

§2000(e)-5(f), venue is appropriate in this Court.

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                                     PARTIES

                                          3.

      Plaintiff is a citizen of the United States of America, and is subject to the

jurisdiction of this Court.

                                          4.

      Defendant is qualified and licensed to do business in Georgia, and at all

times material hereto, has conducted business within this District.

                                          5.

      Defendant may be served with process by delivering a copy of the summons

and complaint to its registered agent, The Corporation Company (FL), 112 North

Main Street, Cumming, Georgia 30040.


                     ADMINISTRATIVE PREREQUISITES

                                          6.

      Plaintiff timely filed a charge of discrimination against Defendant with the

Equal Employment Opportunity Commission (EEOC) alleging disability

discrimination in violation of the Americans with Disabilities Act (“ADA”). The

EEOC issued a “Notice of Right to Sue” on March 1, 2021, entitling an action to

be commenced within ninety (90) days of receipt of that notice. This action has



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been commenced within ninety (90) days of receipt of the “Notice of Right to

Sue”.

                           FACTUAL ALLEGATIONS

                                          7.

        Defendant has now, and at all times relevant hereto, has been an employer

subject to the Americans with Disabilities Act (“ADA”).

                                          8.

        Plaintiff was hired by Defendant in the beginning of August 2020 as an

automotive tech.

                                          9.

        Plaintiff suffers from disabilities, within the meaning of the ADA, of which

Defendant had actual knowledge. In particular, Plaintiff suffers from disabling

knee and back issues.

                                          10.

        Plaintiff informed Defendant on his employment application that he suffers

from disabilities, including disabling knee and back issues.

                                          11.

        Plaintiff requested accommodations for his disabilities on his employment

application.


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                                            12.

      When Plaintiff first began work, Tom, the store manager, told Plaintiff that

he would be provided with accommodations, including the ability to use a chair

when he was assigned to greet customers at the door.

                                            13.

      On or around November 24, 2020, Plaintiff was assigned to greet customers

at the door. Plaintiff sat in a chair while performing this task.

                                            14.

      Chris, the auto shop manager, told Plaintiff that he was not authorized to

have a chair.

                                            15.

      Chris proceeded to grab the chair out from under Plaintiff.

                                            16.

      Plaintiff immediately complained to Tom about what happened.

                                            17.

      That same day, Defendant terminated Plaintiff’s empoyment.

                                            18.

      Plaintiff had received no formal disciplinary actions while working for

Defendant and received a raise shortly before his termination.


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                                           19.

      Plaintiff was and remains able to perform the essential job functions of the

job for which he was hired, with or without a reasonable accommodation.

                                           20.

      Defendant terminated Plaintiff because of his disabilities or perceived

disabilities and/or need for an accommodation.

                                           21.

      In terminating Plaintiff’s employment and failing to provide him with a

reasonable accommodation under the ADA, Defendant discriminated against

Plaintiff because of his disabilities.

                                           22.

      Plaintiff has suffered lost wages and emotional distress as a direct result of

Defendant’s unlawful actions.

                               CLAIMS FOR RELIEF

      VIOLATION OF THE AMERICANS WITH DISABILITIES ACT
                    (ADA DISCRIMINATION)


                                           23.

      Plaintiff repeats and re-alleges paragraphs 7-22 as if set forth fully herein.




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                                            24.

      Section 102 of the ADA protects qualified individuals, including Plaintiff,

from adverse employment actions based on a known disability of the employee.

                                            25.

      At times relevant to this action, Plaintiff was a “qualified individual” as that

term is defined by the ADA.

                                            26.

      At times relevant to this action, Plaintiff has been an individual with

disabilities as that term has been defined by the ADA.

                                            27.

      At times relevant to this action, Defendant and the individual(s) involved in

the decision to terminate Plaintiff were aware of Plaintiff’s disabilities, including at

the time of Defendant’s termination of Plaintiff.

                                            28.

      Plaintiff’s disabilities were a determinative factor in Defendant’s decision to

terminate Plaintiff.

                                            29.

       At all times relevant, Plaintiff could perform the essential functions of his

position, with or without a reasonable accommodation.


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                                            30.

       Defendant “regarded” Plaintiff as having “disabilities” under the ADA.

                                            31.

       In terminating Plaintiff, Defendant discriminated against Plaintiff because

of his disabilities, thus violating Plaintiff’s rights under the ADA entitling him to

all appropriate relief thereunder.

                                            32.

       As a result of Defendant’s unlawful actions, Plaintiff has suffered

emotional distress and other non-pecuniary damages, as well as economic

damages, for which he is entitled to recover from Defendant.

                                            33.

      Defendant discriminated against Plaintiff, and in failing and refusing to take

any appropriate remedial action to remedy the unlawful employment practices has

not only deprived Plaintiff of equal employment opportunities, but exhibits malice

or reckless indifference to the federally protected rights of Plaintiff.

                                            34.

      Plaintiff is entitled to compensatory and punitive damages.




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VIOLATION OF THE AMERICANS WITH DISABILITIES ACT (“ADA”)
                    (RETALIATION)


                                            35.

       Plaintiff repeats and re-alleges paragraphs 7-22 as if set forth fully herein.

                                            36.

       The ADA protects qualified individuals, including Plaintiff, from retaliatory

measures taken by an employer based on protected activity, including opposing

disability discrimination and requesting a reasonable accommodation for a

disability.

                                            37.

       Plaintiff engaged in protected activity by notifying the Defendant of his

disability and seeking a reasonable accommodation.


                                            38.

       Defendant subjected Plaintiff to adverse employment action by terminating

his employment after he sought a reasonable accommodation.




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                                           39.


       There is a causal connection between Plaintiff’s disability and subsequent

request for a reasonable accommodation; and, Defendant’s decision to terminate

his employment as a result.


                                           40.

       As a direct and proximate result of these actions, Plaintiff has suffered

damages.

                                           41.

       Defendant, therefore, is liable for the damages caused proximately by its

retaliation.


       WHEREFORE, Plaintiff requests judgment as follows:

       (a)          General damages for mental and emotional suffering caused by

                    Defendant's misconduct;

       (b)          Punitive damages based on Defendant's willful, malicious,

                    intentional,   and   deliberate   acts,   including    ratification,

                    condonation and approval of said acts;

       (c)          Special damages for lost wages and benefits and prejudgment

                    interest thereon;


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     (d)         Reasonable attorney’s fees and expenses of litigation;

     (e)         Trial by jury as to all issues;

     (f)         Prejudgment interest at the rate allowed by law;

     (g)         Declaratory relief to the effect that Defendant has violated

                 Plaintiff’s statutory rights;

     (h)         Injunctive relief of reinstatement, or front pay in lieu thereof,

                 and prohibiting Defendant from further unlawful conduct of the

                 type described herein; and

     (i)         All other relief to which he may be entitled.


     This 12th day of March, 2021.



                                      BARRETT & FARAHANY

                                      s/V. Severin Roberts
                                      V. Severin Roberts
                                      Georgia Bar No. 940504
                                      Attorney for Aaron Gerenday

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